                           IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF IOWA
                                    WESTERN DIVISION

                                        )
 Devin G. Nunes,                        )           Case No. 5:19-cv-04064-CJW-MAR
                                        )
            Plaintiff,                  )
                                        )
 v.
                                        )
 Ryan Lizza and Hearst Magazine Media, )
 Inc.,                                  )
                                        )
            Defendants.                 )
                                        )
                                        )
                                        )
 NuStar Farms, LLC, Anthony Nunes, Jr., )           Case No. 5:20-cv-04003-CJW-MAR
 and Anthony Nunes, III,                )
                                        )
            Plaintiffs,                 )
                                        )
 v.
                                        )
 Ryan Lizza and Hearst Magazine Media, )
 Inc.,                                  )
                                        )
            Defendants.                 )
                                        )

       Defendants’ Brief Regarding a Joint Trial in the Nunes and NuStar Cases

       Ryan Lizza and Hearst Magazine Media, Inc., Defendants in the above-captioned related

cases of Devin G. Nunes v. Ryan Lizza & Hearst Magazine Media, Inc., 5:19-cv-04064-CJW-

MAR (N.D. Iowa) (“Devin Nunes”) and NuStar Farms, LLC, Anthony Nunes, Jr., & Anthony

Nunes, III v. Ryan Lizza & Hearst Magazine Media, Inc., 5:20-cv-04003-CJW-MAR (N.D.

Iowa) (“NuStar,” together with Devin Nunes, the “Nunes Cases”), submit this brief, as directed

by the Court, see Devin Nunes ECF No. 71, NuStar ECF No. 191, to state and support their

position seeking consolidation of the Nunes Cases for joint trial only.

       For the reasons described below, Defendants respectfully submit that the Court should


                                    1
     Case 5:20-cv-04003-CJW-MAR Document 195 Filed 01/25/22 Page 1 of 12
defer setting any trial date(s) in either of the Nunes Cases until it has ruled on the motions for

summary judgment in NuStar, which Defendants anticipate filing promptly after taking the

additional discovery they were granted leave to take. If the Court is nonetheless inclined to set a

trial date based on what remains in the current posture of the Nunes Cases, it should set them for

joint trial together.

                                            Background

        The Court is very familiar with the Nunes Cases. Defendants will summarize only the

most salient facts here.

        A. At Present, the Nunes Cases Concern Identical and Nearly Identical Claims,
           Concern the Same Article, Are Brought Against the Same Defendants, Would
           Require Attendance and Testimony from the Same Witnesses Concerning the
           Same Factual Matters, and Would Present the Same Evidence and Legal
           Questions.

        The Nunes Cases seek recovery for defamation. Both concern the same September 2018

Esquire article by Ryan Lizza, entitled Devin Nunes’s Family Farm Is Hiding a Politically

Explosive Secret (the “Article”). The Nunes Cases are brought against the same defendants,

Ryan Lizza and Hearst Magazine Media, Inc. The plaintiffs in the Nunes Cases are Devin Nunes

and his immediate family members, represented by the same counsel. Compare Devin Nunes

ECF No. 23, with NuStar ECF No. 188. Defense counsel is the same in both cases, too.

        At present, both cases feature the same defamation by implication claim: That the Article

purportedly implies Devin Nunes, his family, and perhaps others “conspired” to hide the fact that

the NuStar Farms, LLC hired undocumented workers. See Devin Nunes ECF No. 23 ¶ 13;

NuStar ECF No. 188 ¶ 53. The plaintiffs in NuStar have described this claim, as asserted in

NuStar, as being “the exact same claim” as the one asserted in Devin Nunes. NuStar ECF No.

162, at 2 (emphasis in original). That this claim is substantively identical in both cases was one

reason the Court granted the plaintiffs in NuStar leave to add the defamation by implication


                                    2
     Case 5:20-cv-04003-CJW-MAR Document 195 Filed 01/25/22 Page 2 of 12
claim. See ECF No. 187, at 32-35.

        As a result, any trial of either of the Nunes Cases would feature significant testimony and

documentary evidence regarding the truth, or substantial truth, of statements regarding NuStar’s

employment of undocumented workers, and only if false, the “conspiracy.”

        This is critical because the alleged purpose of this “conspiracy” is to hide the hiring of

undocumented labor, making the question of whether the Nunes family farm does, in fact, rely

on undocumented labor at issue in both cases.

        Indeed, in NuStar, that is the family’s claim: That the Article implies that they

knowingly hired undocumented workers. NuStar ECF No. 188 ¶ 53. This necessarily involves

the same underlying facts concerning NuStar Farms, LLC’s hiring and employment practices,

and the immigration documentation and status of each of its workers, as are at issue in the

defamation by implication claims in both Nunes Cases.

        Thus, trial in both Nunes Cases would feature substantial duplicative testimony, from the

same witnesses, regarding the hiring practices of NuStar Farms, LLC; the immigration and

documentation status of each NuStar worker and whether the farm does, in fact, hire

undocumented workers; and all plaintiffs’ awareness and knowledge of those hiring practices

and the status of their workers. Any narrowing of these issues on summary judgment would

likewise result in efficiencies for joint trial of both cases.

        In both Nunes Cases, the parties would present the same evidence concerning

Defendants’ reporting, editing, and publication of the Article and state of mind toward its facts.

See generally Devin Nunes ECF No. 23 (amended complaint); NuStar ECF No. 188 (third

amended complaint). Indeed, both Nunes Cases concern the question of whether either or both

Defendants intentionally published the allegedly defamatory implications with “actual malice”




                                    3
     Case 5:20-cv-04003-CJW-MAR Document 195 Filed 01/25/22 Page 3 of 12
toward their meaning and falsity, and whether the plaintiffs can prove knowledge of falsity or

reckless disregard for the truth by the required evidentiary burden of clear and convincing

evidence. See Devin Nunes ECF No. 23 ¶ 35; NuStar ECF No. 188 ¶ 40.

       “Actual malice” is a required element of the plaintiff’s claim in Devin Nunes. See N.Y.

Times Co. v. Sullivan, 376 U.S. 254, 278-280 (1964). And, while the parties dispute whether it is

an element of the plaintiffs’ claim in NuStar, see NuStar ECF No. 50 at 33-36, and ECF No. 180

at 8-9, both parties agree that it is a requirement for the plaintiffs in NuStar to recover the

punitive damages that they seek, see NuStar ECF No. 188 ¶ 40.

       That the trials in the Nunes Cases would involve the same witnesses, testifying to the

same matters, on the same and similar claims is not only self-evident from the overlap of claims

and parties: All the plaintiffs have admitted as much in their own Rule 26(a)(1) disclosures.

       The plaintiffs’ initial Rule 26(a)(1) disclosures in Devin Nunes and NuStar disclosed the

same 11 witnesses, purportedly who will possess facts and will be called by the plaintiffs to

testify as to identical or nearly identical matters. Compare Jan. 25, 2022 Declaration of

Nathaniel S. Boyer (“Boyer Decl.”), Ex. A, with id., Ex. B. The only difference between the

initial disclosures is that, in NuStar, the plaintiffs listed unnamed “Sibley Citizens” and “Twitter

Users” as witnesses, too. The plaintiffs in NuStar have since amended their initial disclosures to

add additional witnesses (and to remove a few, too)—but the additional witnesses would, by-

and-large, testify to matters at issue in both Nunes Cases, anyway. Id. ¶ 3.

       B. Both Nunes Cases Will Be the Subject of Motions for Summary Judgment,
          Which Could Affect and Narrow What if Any Aspects of Each Case Remains to
          Be Tried.

       The foregoing describes the current overlap in both NuStar and Devin Nunes. However,

each of the Nunes Cases will be the subject of Defendants’ motions for summary judgment.

While Defendants anticipate they will prevail in full on both motions, uncertainty exists about


                                    4
     Case 5:20-cv-04003-CJW-MAR Document 195 Filed 01/25/22 Page 4 of 12
what portions of either or both Nunes Cases will survive summary judgment, if any.

                                            Argument

       A. The Court Should Defer Setting Trial Date(s) Until It Decides Defendants’
          Motions for Summary Judgment in NuStar.

       As the Court knows, Defendants were days away from moving for summary judgment in

NuStar, when the Court of Appeals ruled in Devin Nunes. Defendants anticipate moving for

summary judgment as soon as practicable in NuStar, after completing the remaining discovery

the Court granted leave to take in its ruling sustaining Defendants’ motion to compel discovery

concerning the 2018 Audit. See NuStar ECF No. 177.

       Defendants anticipate the NuStar case will terminate at the summary judgment stage,

mooting the question of whether it should be tried together with Devin Nunes. Until it is known

if some portion of NuStar will survive Defendants’ motion for summary judgment, then the

question of whether joint trial is appropriate does not appear ripe for decision. If that happens,

the Court will then have more information—namely, knowing what remains to be tried in

NuStar, together with legal rulings that could affect the likely ultimate outcome of Devin

Nunes—to inform its decision as to whether to set the Nunes Cases for a joint trial.

       Defendants acknowledge that deferring the setting of a trial date is not the ordinary

practice in this District. But little about these cases is ordinary. As the Court has recognized,

NuStar ECF No. 180 at 7, these are high-profile defamation suits against a large media company

and a prominent national journalist, brought by a (now-former) member of the United States

Congress who held leadership positions in his party and his chamber of Congress, and his family

members. The Nunes Cases present important legal issues affecting free speech and press rights.

The motions for summary judgment will present arguments that require legal rulings that may

have effects across both cases. In this unusual setting, a tailored approach to case management



                                    5
     Case 5:20-cv-04003-CJW-MAR Document 195 Filed 01/25/22 Page 5 of 12
remains warranted.

       B. The Nunes Cases Should Be Tried Jointly if There Is to Be Trial in Both Cases.

       If the Court is inclined to set the Nunes Cases for trial now, it should set them for a joint

trial. The “trial ready date” in Devin Nunes would be on or after March 2023, if the Court adopts

the parties’ jointly proposed case management plan and discovery schedule the parties are filing

today. If NuStar goes to trial, that should occur jointly with Devin Nunes, at that time.

               1. The Nunes Cases present common questions of law and fact.

       Where actions “involve a common question of law or fact, the court may [] join for

hearing or trial any or all matters at issue in the actions.” Fed. R. Civ. P. 42(a)(1); see also

E.E.O.C. v. HBE Corp., 135 F.3d 543, 550-551 (8th Cir. 1998). Where common evidence and

witnesses are relevant to two plaintiffs’ separate claims against the same defendant,

consolidation for trial is appropriate. E.E.O.C., 135 F.3d at 550-551 (finding no clear error in

district court’s consolidation and joint trial of two employee’s claims [retaliatory discharge and

racial discrimination] against same employer defendant); see also Sarah Courtney Ctr. v.

Chiafos, No. 19-CV-0023 CJW, 2019 WL 2358425, at *3 (N.D. Iowa June 4, 2019) (ordering

cases to be consolidated where they involved “the same set of facts and involve the same

parties”); Linton v. Angie’s Inc., 288 F.R.D. 432, 438-39 (D.S.D. 2012) (consolidating two

plaintiffs’ employment discrimination claims, where claims against employer and manager were

similar, witnesses and evidence were largely the same, and district court and counsel could

assure through jury instructions that no jury confusion would arise).

       Here, indisputably, the Nunes Cases present “common question of law” and “common

questions of . . . fact.” Fed. R. Civ. P. 42(a)(1). As explained above, the Nunes Cases concern

“the exact same” cause of action for defamation by implication, concerning the same Article,

made against the same Defendants. The other claims are related, and both cases concern the


                                    6
     Case 5:20-cv-04003-CJW-MAR Document 195 Filed 01/25/22 Page 6 of 12
same evidence regarding (i) the operation and hiring practices of NuStar Farms, LLC and the

immigration and documentation statues of each of its employees; (ii) what Devin Nunes, his

family, and others knew about those hiring practices, and their communications regarding them;

and (iii) the reporting for and editing of the Article. The Nunes Cases involve the same

witnesses, who would testify to the same and similar matters. And the Nunes Cases present

other identical legal and factual questions, including (i) the truth and substantial truth of the

Article’s reporting regarding the farm’s hiring practices, the immigration and documentation

statues of each of its employees, and the others’ awareness of these matters, and (ii) Hearst’s

fault in publishing the Article (or Lizza’s fault in tweeting a hyperlink to the Article), including

whether Defendants harbored actual malice as to the truth of the Article at the time of the

relevant “publication.”

               2. Other factors weigh in favor of a joint trial.

       Once the “threshold” showing of a common question of law or fact is established, courts

consider other factors, such as the risks of prejudice and the burdens of separate trials, to

determine whether to join cases for trial. See Blood v. Givaudan Flavors Corp., No. C04-0085-

EJM, 2009 WL 982022, at *7-8 (N.D. Iowa Apr. 10, 2009). Here, the interests of efficiency,

minimizing burdens, and the lack of prejudice to the plaintiffs all militate in favor of a joint trial.

       On efficiency and burdens: This is not a situation involving a “large amount of

individualized evidence, [where] a single trial would, essentially, be comprised of [multiple] sub-

trials, in which each plaintiff would seek to prove her case.” Cf. Bertroche v. Mercy Physician

Assocs., Inc., No. 18-CV-59-CJW-KEM, 2019 WL 4307127, at *29 (N.D. Iowa Sept. 11, 2019).

Nor would a “combined trial . . . literally involve trying two separate cases to the same jury at the

same time.” Peters v. Woodbury County, Iowa, 291 F.R.D. 316, 319-20 (N.D. Iowa 2013)




                                    7
     Case 5:20-cv-04003-CJW-MAR Document 195 Filed 01/25/22 Page 7 of 12
(declining to consolidate because claims involve separate incidents that occurred nine months

apart).

          To the contrary, and as described above, most of the evidence would be generally

applicable to both cases. It would be highly inefficient to try these overlapping cases with

overlapping facts and witnesses twice. And separate trials would impose an undue burden on the

parties, the Court, and the witnesses. Rasch v. Tyson Fresh Meats, Inc., No. C16-3006-LTS,

2017 WL 2219985, at *3 (N.D. Iowa May 19, 2017) (“It is in the interest of both the parties’ and

the court’s time to consolidate these cases” where cases involved similar claims and evidence).

          On prejudice to the plaintiffs: Defendants anticipate two arguments the plaintiffs may

make to avoid consolidation. Neither have merit.

          First, the plaintiffs may argue that (i) the plaintiffs in NuStar are not limited purpose

public figures, involuntary or otherwise, and therefore, (ii) unlike the plaintiff in Devin Nunes,

they do not need to prove “actual malice” as an element of liability. Even if the plaintiffs were

correct about the first point, the issue of actual malice is at issue in NuStar: The NuStar

plaintiffs seek punitive damages, which requires them to prove actual malice by clear and

convincing evidence. See Gertz v. Robert Welch, Inc., 418 U.S. 323, 348-50 (1974); see also

Jones v. Palmer Commc’ns, Inc., 440 N.W.2d 884, 891 (Iowa 1989); Caveman Adventures UN v.

Press-Citizen Co., 633 N.W.2d 757, 761 (Iowa 2001). Thus, in both cases, the Court would

instruct the jury on the actual malice standard of fault, and would ask jurors to decide whether

Defendants subjectively had knowledge of falsity or reckless disregard of the truth when

publishing the challenged implication(s).

          Indeed, this highlights a risk of separate trials: Inconsistent findings on the same factual

questions. See Blood, 2009 WL 982022, at *7, 8 (in case with “common factual and legal




                                    8
     Case 5:20-cv-04003-CJW-MAR Document 195 Filed 01/25/22 Page 8 of 12
issues,” any potential prejudice to a party was “insignificant and vastly outweighed by the risk

that the failure to consolidate could lead to inconsistent verdicts”). “Actual malice” concerns the

publisher’s attitude toward the truth, not its attitude toward the plaintiffs. See Carson v. Allied

News Co., 529 F.2d 206, 209 (7th Cir. 1976); Caveman Adventures UN, 633 N.W.2d at 762

(stating that the test for determining the existence of actual malice “is purely subjective” and

requires clear, convincing, and satisfactory proof that the defendant “acted with knowledge that

the claims made” were false or “with a reckless disregard for the truth”). Thus, the jury would

face similar actual malice inquiries in both cases, and the Court should avoid the risk of different

juries returning different rulings on the same question.

        This same principle applies to other issues of law or fact that may cut across both cases,

such as (i) the literal truth or substantial truth of the “conspiracy” to hide the hiring of

undocumented workers, (ii) the literal truth or substantial truth of whether NuStar Farms, LLC

knowingly hires undocumented workers.

        Even if different standards of proof were to apply to both cases, that is not reason enough

to separate the cases for trial. It is not prejudicial to the plaintiffs to consolidate actions where

claims arise from same facts and circumstances, even though the standards of proof applicable to

one plaintiff’s claim are not applicable to the other’s claim. Ikerd v. Lapworth, 435 F.2d 197,

204 (7th Cir. 1970). Those differences can be communicated to the jury through specific jury

instructions. Id. (finding no merit to plaintiff appellant’s speculation that jurors were confused in

consolidated trial where “carefully prepared” instructions specified whether defenses were

applicable to one plaintiff or another). Similarly, the fact that one claim involves damages not

applicable to another plaintiff’s claim does not prevent consolidation; jury instructions can be

prepared so as not to confuse the jury. Fields v. Atchison, Topeka & Santa Fe Railway Co., No.




                                    9
     Case 5:20-cv-04003-CJW-MAR Document 195 Filed 01/25/22 Page 9 of 12
CIV. A. 95-4026, 1996 WL 109536 (D. Kan. Feb. 7, 1996) (citations omitted) (granting motion

to consolidate where two cases arose from same circumstances and defendants in one action

would be necessary witnesses in the other).

        Second, the plaintiffs may argue that they would “suffer prejudice” due to jurors

“insinuating factual inferences from one plaintiff to the other plaintiff.” Roeder v. DIRECTV,

LLC, No. 14-CV-4091-LTS, 2017 WL 11458455, at *4-5 (N.D. Iowa Feb. 1, 2017). But the

plaintiffs’ counsel could manage this risk by addressing this issue with the jury in his opening

statement and closing argument, and by requesting proposed jury instructions emphasizing that

the jurors “must treat each plaintiff’s claim separately.” See id. Even if there were some

complexity to the case, “jurors are routinely entrusted with important and complex tasks.” Id.

And here, there are only four plaintiffs—and there’s no dispute that three of them would try their

cases together in the NuStar case. Id. Defendants are confident that “jurors with the proper

guidance and clear presentations by counsel will be able to fairly and efficiently serve as

factfinders in a joint trial.” Id.

                                           Conclusion

        For the foregoing reasons, Defendants respectfully submit that the Court should defer

setting any trial date(s) in the Nunes Cases until it has ruled on the motions for summary

judgment in NuStar. But if the Court is nonetheless inclined to set a trial date based on what

remains in the Nunes Cases at present, then Defendants believe sound authority and judicial

economy warrant trying the Nunes Cases together.




                                   10
    Case 5:20-cv-04003-CJW-MAR Document 195 Filed 01/25/22 Page 10 of 12
 January 25, 2022              Ryan Lizza and Hearst Magazine Media, Inc.,
                               Defendants

                               By: /s/ Nathaniel S. Boyer
                               Jonathan R. Donnellan, Lead Counsel*
                                jdonnellan@hearst.com
                               Ravi V. Sitwala*
                                rsitwala@hearst.com
                               Nathaniel S. Boyer*
                                nathaniel.boyer@hearst.com
                               Sarah S. Park*
                                sarah.park@hearst.com
                               Nina N. Shah*
                                nina.shah@hearst.com
                               THE HEARST CORPORATION
                               Office of General Counsel
                               300 West 57th Street
                               New York, New York 10019
                               Telephone: (212) 649-2030
                               Telephone: (212) 649-2035
                               *Admitted Pro Hac Vice

                               Michael A. Giudicessi
                                michael.giudicessi@faegredrinker.com
                               Nicholas A. Klinefeldt
                                nick.klinefeldt@faegredrinker.com
                               Susan P. Elgin
                                susan.elgin@faegredrinker.com
                               FAEGRE DRINKER BIDDLE & REATH LLP
                               801 Grand Avenue, 33rd Floor
                               Des Moines, Iowa 50309-8003
                               Telephone: (515) 248-9000
                               Facsimile: (515) 248-9010

                               Scott W. Wright**
                                scott.wright@faegredrinker.com
                               Faegre Drinker Biddle & Reath LLP
                               2200 Wells Fargo Center/90 S. 7th Street
                               Minneapolis, Minnesota 55402
                               Telephone: (612) 766-7000
                               Facsimile: (612) 766-1600
                               **Admitted Pro Hac Vice in the NuStar case

                               Attorneys for Defendants




                               11
Case 5:20-cv-04003-CJW-MAR Document 195 Filed 01/25/22 Page 11 of 12
                                    Certificate of Service

        The undersigned certifies that a true copy of Defendants’ Brief Regarding a Joint Trial
in the Nunes Cases was served upon the following parties through the court’s CM/ECF
electronic filing system on January 25, 2022.

                                                   /s/ Nathaniel S. Boyer
Copy to:

William F. McGinn
 bmcginn@themcginnlawfirm.com

Steven S. Biss
 stevenbiss@earthlink.net

Attorneys for Plaintiffs




                                   12
    Case 5:20-cv-04003-CJW-MAR Document 195 Filed 01/25/22 Page 12 of 12
